              UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF TENNESSEE
                        AT GREENEVILLE



UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 2:05-CR-75
                                                 )
MICHAEL CHARLES GUNTER                           )



                                  ORDER

            This criminal matter is before the Court to consider the Report and

Recommendation of the United States Magistrate Judge dated May 23, 2006,

[Doc. 347], and the Report and Recommendation/ and Order of the United

States Magistrate Judge dated May 23, 2006, [Doc. 348], both of which address

separate motions to dismiss the superseding indictment filed by the defendant

on the basis of alleged Constitutional and procedural insufficiencies. [Docs.

314 and 315]. The defendant has filed objections and an appeal. [Doc. 360].

             After careful consideration of the Reports and Recommendations

of the United States Magistrate Judge, [Docs. 347 and 348], and the objections

of the defendant, it is hereby ORDERED that the Reports and Recommenda-

tions are ADOPTED and APPROVED, and that the defendant’s motions to




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dismiss are DENIED. [Doc. 316 and 317].

            The appeal of the defendant in regard to the order denying the

defendant’s motion to compel discovery of the grand jury transcripts, or for in

camera review of those transcripts, is DENIED, [Doc. 360], because the Court

FINDS that the Magistrate Judge’s order is not clearly erroneous, an abuse of

discretion, or contrary to law. Accordingly, it is hereby ORDERED that the

Magistrate Judge's order is ADOPTED and AFFIRMED. [Doc. 348].



            ENTER:

                                                 s/J. RONNIE GREER
                                             UNITED STATES DISTRICT JUDGE




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